HIGH DESERT STATE BR
Oufise sbamoncka race ascent 152 Filed 06/09/25 Page 1 of 38
V0, Box 3036 “RS OGHAS

Susanville | CA Go1ay
EN THE UNITED) STATES DISTRICT Cougr

FOR THE CASTERN OISTRICT oc CALI EORNIA

SACRAMENTO DIVISION

QuPtee Jamant Adkins Moe AL19~CU-0458-0NCP
Plaintite Pla cti Ces Motion to Comet
V x Gee HON. O.zAnis M. GOTA

DEBORAH SLACKWELL otal, Leal pare * Wane

— Delon olanks, ACTION FILED’ ey dG 2o2s

. Dubaee ner DAN A ee 152 ~Filed 06/09/25 Page 2 of 38

AO: Bax 2026
1 CUSanviile CA 9G137
2 Te Oefendants DEBORAH PLACKWELL wt ale,

3 aise TAKE NOTICE THAT , uncker Federal Ruies of
‘HCiwil Procedure 3Y anol 37, Slaintiee OuPree Lamont
SH AdKinS PRO SE. wale, +5 compel Doe ncants Deborah
6 Blackwall. pit Ole +o produce unredacted " Zsolatiag
THLog O¢ficial Visitation? Inoli Casting the following Ma>
8 tial, the dale the name . athe 2unplay a2 title, thou.

oP Were present Wh Cali€arnia Strobe Orison- Solano- Admi-_
10 strat ive Segre ste Unit luring Enditutietel Clas-
ulLsification Committe fed. 2. civ, P, S72 CG) CAA Cry)
12 Quring extensive weet and Conver oloLenaians
13 |} 45 Cbiected to producing the logs. Mow) that Orscoery
u [has resumedt . the ele nolernts. ptoduced the, | logs |

15 | However they have redacted ‘Moatertal Facts. Lice!
sllate critical to Plaine Claim af deliberate indi fe. |
vt renee toy using false clinician Comments a+ ZX,

18 EN a¢cardance with Eastern isi.
witet Local Rule, 430 G1), this motion ts Subimnitbedl witto-
opt oro! aroumend Unless te, gueSted by the Hansrable
2 [LCaute «This wlotian iS Supported by the attache

22 || Me morandum Of poinks anol authorities, the, decig-
23 Ilration of Olaintif? the Honarable Courts file and

a tany ether Matte ns properly befere, +he ttonorabte

25 Court,
7 HMEMORAN DUM OF DoINTKS AND AUTHORITIES
27 EN TROD CTILOAN.

0 EG tensive, -2fforks tna ‘meet and. Canver with deRen-
© Heran ater csf- wf ~ Asu- Lec.

4

Gudeshannag ACUMe teooiien 152 ~=— Filed 06/09/25 Page 3 of 38
fi'0: BOK 36 dO
Susanville GA 9/A7

clants previo LOUS Counsel See exhbH-A pecdyvad al! the

lag diseute, except for te date af the joo's and the

identity Of the LCC members. The clelendante bave

Sul LC} ently Culnabie Grate, Ck mind +hert Dr eho

man MS AGE documented os a. C0 member. Olan iC

esoecHlll) request this Hanorabe Cauel order the -

efLendarts kal unre dact the dale and +he nanids

an +he jicolotion lag's as they ate Moterial witnesses

+0 Clinician Contmenr’e and, plaubee diy per-bergion

Crisis i Que

RELAVENT “BACKGROUND

Plaiotiee Served request fat ptaduction of Cac uments

an deferolanys Aackwell a4 al _ anol agreed tr Sever]

Iscevery 2¥tenSions die to aad Lath belie? thal

UY
here was a. Oral Contract that = woud recrisive

+he pend lag disc.ave When the time its ripe see

Eyul LBL AY

On grt! a¢, 20a the Delendants

produced the redacted Logis polous the materia]
CS Of the dates and names thot are, relevant 46

zeoc- clinician coments and Dlointner itypabension

Crisis Loiuty °.

O22. olointige NSsch ot I-> GH Ibi =B°

Evitidiris Cy QE F, 6, Hand Plaintiff FAC Exprys

APO,

ARGUMENT

Pp DEFENDANTS DEPORBH BLACKWELL etals,

J

High Desert STate Prison
urge Lament Soa 152 ~Filed 06/09/25 Page 4 of 38
susamville, Ch W127

ust PRODUCE THE UNREDACTED Lode. AT

Issuc,

The, chickens have, come hame. to Kaast

Tattioly OrSherman onder penalty of periury addi ibue

d the false clinician Coments "bo sor ive nar SEEOR,

then the olelon dans under penalty a Portusy in there}

Answer to Plaintiee oth Amended Complaint, answered

Or. Sher Nan was present ound conte mer theek Olainb LC

ad the alilty to understand xc? arocecdinas aad

;
ot his wenta!l Heath was sdable with nO decampen a=

ation. Subiact ts in the" MHSDS" ot" CCoMs” level of
Care.

see flantife Necl at 7 ExHi6iT- B,

OR. Sherman oad the DeLenolants are blantantly Cant.

ta oli cted by Plaintice’s £Ac. Pagas Y~2 #67 thru Y~C,

7d befendanks anol OR Sherman. awe blantantly CO~

tradicted by tho Tadlatian 2. Exhibit

C PE EF, “ and Plaintife Des laratian at

Eyal 6,

Under Rule STtay G3dC BIG? af the

Foderal Rules of Civil Procedure, CL party ww2ekl-

Og aise, Query May move for oh opoler Compelling

Lhe prodwort inn o£ decuments ulben 2 pay fats

o> produce dacuments ;

' Te Sutceed Bn +he, matian the.

Moving porty must have, a. Calornable oasis far hs

belie? that ‘relevant ke spon sive AOC UME. ns €Xi St

Lf

High desert State, Prisen
QuP e222 hao, SAR ME 2 Filed 06/09/25 Page 5 of 38
Pr Qs bor 30. wees NARS DoH

SUSAn ville GA Yla7

and Ops, lae.ing improperly witheld !

S09, Case, neda Vi Quiring NO, ald; t~

CV ALI , A0ds Wh Sigs Rat *7 CE. OD. Cel, ALL ge (6.

1003) C citing kc, Vv, Cnty Of Los Anoe os, No, ey

13- 3306 , LOY wl. 1275-470, at ®UC GN, ‘Cal, Augs

(a, 204),

T's UN bis outeol thet the Loa's exist,

its the dle lendant's Whe tedocted the ate anol

the noes of the tcc members ile +. the Moct-

rial Loct OR. Shermans wes nad oresent at cc,

228 EYHIBIT's C, b é. E, G, HK and plaintitt Decl,

cot FY EyHIpIT-B.

TCs REP NO,

California stote, Prisa Solano, Administrative Seq-

e.QOti ON Unit afeicers ond or Visiter log" Sian Sn

J? J
ime" 4h et's relevant toa Defendant Me Dernoncauet

and fary Sourgenn Registered Nae an 10/l2 /agiz

Dee ENDANTS RESPONSE TA REP NO

Ahi ection. Compound, This veguect fs Vague, dinl~

gUOus, and overbroad as to Sabi ect mater Tt

lacks foundat/fon and assumes fos, T+ Goets i ptor-

Motion protected under the official tafermation

privi lege,

Seg Kerr y. United States Dist. (oup}

or Ms Dist. S11 £ da 192 (7% Cit LT78) Zt also Sevks

1n-Lor ett lon, eeobisctased edt Y Prarected under

the Health ond Safety Code Seotlan 14315.

Oertor Shad read 5
Pratected

Hick Desert State Pison

Dubs UEeE et obabd loner Ker pefent 152 Filed 06/09/25 Page 6 of 38
101 OX 3030 -

Usanville, CA IG1a7

Tt also Seeks foformation, Aisclesed. would

vialate privacy oF oefendant ane +hitd Parties, Gn!

California, orivilege 0. aint Ai Sclosure Of ¢ custadiol | .

officer records joe’ Led, B, 6VD.S01, Cal. Pen, Code |

h8 232.7, $38.8" Cal CVD, Code 88 [53-7097 ° Cal, Cade:

heg 9. ttt, Le BR 33a), 3370 3450 * Gav, Coole Bhacy,

Sublect ta and withaut waiving

the obiectians | OsCanalams produce the £allowlng

dacumertt Si

* the. = 30lation Log the California

tate Prison, Solano On October 1a, 40/7. (AGros~ AG

000 YG)

California. Sinte. Prison Salana, Administrative

Seste, gat Lon Unit Visitor Lag for @3/20/20/7

DEFENDANTS ResveNse T TO RED Wo. a

gbiect! ton. Cow founds This Pequest iS Vague, ambig-

UOUS, aod overbr aad G3 +o ‘Subject Matter Tt

see ks tnfLot mation protected (ndet the oicig]

Lofermation priv lege. Kerr Vv. Unted States Dist Coun-

or NiDtst~, SIE, ad (WAC Qh Ctr. 1975). Et also Sevis

information, ee dice oSed, Would Violate the privacy

ot +he defendants aod tUnird parties , a.nd the Cole

tQig, privi lege 0.9.0.1 St olisclo Sure of custadic/

officer records. Sze Fed, R. EVid, SO), Gal Lhe Code BR

2.447, 833135 Col, Evid . Code BB 1043-1042 Cale Coda hess
LoL AS i bozal, 3370, 34504 Gal Code 862 <4

Gs

h
No. ee ante tn ake SUM KaRO GUE? Filed 06/09/25 Page 7 of 38
PS + oS ieee Ox seo”

SUSar Ville | CA 96187

Subrect £9 and without waiving the. Obiections, Oe

nants produce the Following documents ® ,

¢ The Xsoiatt an Log af the Cali-forn~

ia State Prison. Salano an Aug US 20, 20/7 (AGC 00i-AGOCN),

REP WO. 3°

California Soto Prison sol alo, Administrative Seate.

gation Unit Visitor lag for 10/18 L/2,

DEFENDANTS R RESPONSE To REP NO.3!

Leetiof. Com pound, This reg west is Vaque pcunbia uous,

and avetbragal qs +o Sublect matter. rb seeks inarmotian|

protected _Uuoder the allies al infarma+tton privilege,

Kore V United tates Dist. Court for NW. Liste, sien ad

rgacq cip i975). Tt also Seeks information, if _dis~

Closed | would violate the privacy 6£ the Dale nolants

aod Lhied parties, and the Cal fornia, orl ilege, agQinst

disclosure at custodial. officer records, Coo Eek R.

FVIO- sai, Cal Ren. Code §8 8324/7, $24 2° Cal € vid. Cade BE

0Y43- i047 Cal Code Peas , tit. 15 BR 33al, 3370, 3450"

Gav, Cade Bi GAS4.

Subvecst +o _and whith oct. wall ving the

Directions, Delendank or oduce the following documents: é
* The Zsolatl on Log Or the Cali fornia

StotO Prison Salano , on August 13, 20/7. CAG 60a5-AG00NG)

WHY THe OATE CTIONS Ake INAPPLICABLE

AND PROMUCTION Ts —NSUFFICI ENT

Here the xCC lag's 2Xist @nd ae

Televont as they produced the undisouted Maderial

/

HH igh hesert State Pr} Son

UPkae Lamomtsdcdkia G#Roggagt 152 Filed 06/09/25 Page 8 of 38
P.O: BAX 3090

Susanytiie; CA_9G a7

acts there was ne employed at CC. With the 40

GY [eo Ooctor, Scrivener Or “psy cholastst, Which wu.

Deliberate indifference tho WAS. Shielobed by the

folse Clinician Comment -

The Specificity of the dis covery

eg Uestls ty Unred act the Ades of the reer.

embers f (Ss wiaterial a5 Or Sherman's name i's not

one of thew.

The defendants and Dr Sherman

have. already change there testimony from pecher-

/
Man certieV tng, Sho did net make the Clinician Con- |

Menks, ct was Strivefer erPor she dosent recall wee |

ting Me +0 the Defendants declaring Or Sherman was |

pre. Send at FCO and confirmed the. cliniclan Comm
“ots. -

Theat creates the absence, of ol¢-

arnative weans +z Ootail the cnred acte of Mate ria/

lags which advances Digintive Claim of Neli berate tod i-

Lhorence. Tt does fot invede +he privacy at alvane

as the" Big Ooo! Nefenal ant Neuschmid has 73s wool Mat~

rial Lacks. hod these cc embers have know ledge

the Clinician Ca mments See, EXHIBIT-T pe sponse

© loterrogatayy Noid,

Auatiens of privilege Gre Pesolen

d by federal law) seo kerr vy, Untied Hodes ORSE Coed

for. Norther Dit Court o7/ Fad 19a, 197-98 (oMecir (975)-

A0Y US. Dist Les jagas/: ii Vege V. Seta NO,
B

Hi Hoh Qesert State PASCN

BOF ites OBefiment 152 Filed 06/09/25 Page 9 of 38
PQ;
Suse fle, CA F@/a7

L2a-cv 00097] JDL+-E Pol PC).

En Camera bev ie) RS: , highly

appropriate and useful means ore dealing cote clai~

ms of goveromental pr J lle ne quoting Kerr vy. United

totes “Dist, Cauet Mor-thern, Uist, 42. Gao (Un Ss 394 406

16 Sith AUNTY? Jeol ad 7ar(197G).

tn Camera review i3 Wartaned

as the | lags te levance Warrads punitive aM Goes and

Are Other t Wise relevant to Metive of the deLondeauds

and one dibility _ See Rogers 12? EE £2), at Fel!

State. or! vile ge rutes and the, dele~

Odarts Should not ine por inlisted To Fr us+-rote the

iw) Porta. federal interests in broad discovery and |

uith~ Seo kdog and the inferes: in Vinoli coring {we

ortant federal sub Siaotive. poli ey Such as thal eib-

'
odied in Section (993 eee King . Conde, lal BR.

180.187 CEO. NV 1989).

See Aointile Decl at [0 Ediait pe and

See EXH/BIT= A,

CoN el SION

ecor ingly , +his Hoanarable Court Should Camel
pel
the, dele n tants to (140 redect the. nawesc 0.09 +Hre

dates af the 5 ol ation lags .

Respect Lully & wbrltted,

Out Lh

0 ufter Lowen Addins
LL

hich besert Stabe Prison
Zhai HISS@ihknt 152 Filed 06/09/25 Page 10 of 38
MRO 5080

Susawille CA %@la7

VERIFICATION

have tread the fore qOing Mation to Compe! ane
besoby verify thot +he tatters alle 92d) therein ake.

true, except as to matters alleged an tp-forma tan

aod belie? and, a3 +o tase, Lr be] liv them to be true

Lr Gertie codec penalty aft per tury that the foreg—

24g iS free, ancl Correct,
ve Crted at Susanvil le California on flay 2b 2025

Li. L(laten

Du free Lo mant Adkins

10

High desert Stat h\
bee had. Loni Wk OK FOGKIS2 Filed 06/09/25 Page 11 of 38

ousanville, CA %G/27

APPENDIX TO ExH/BITS

YH PIT-A DAG, Ms Singer Peniching Diseavery,

EXH(OIT-B 450 Declaration ae Aa inti¢-e YAdkias,

EXUIBIT-C 1a, TSOLATION LOG AG 000]

EXHIBITED 20 TSOLATION LNG AGBooo2

XHIBIT-E es KSGLATION LOG AG 0608

FEYUIBIEE see SSOLATION 106 AC 000¢

EXHIBIT Gree TSe/ATION LOG A000

EYHIPIE Hees C80LAT AN LOG AGaoob

Eyu\ OTT ve carti€jed znLarrag Atorv Lrom

Deen cant 2, Medschmid

VERIF/ CATION

have read the. foregeing AXH/ BIT atc heraly |
Vet fy that +ho madtors alles~ecf thete lp are

true, seXcept AS +o matters alleged an infor m-
ation and belief and, as +o 1hGSa | > believs them

to be trug 7 COrtiey (endear penalty OF pot {u LV
ioct the fore oi Lng ig. thule, aod Correct.

Yecuted at Susaaville , Cali£apisia nf Ly Ely, 20%

a

Hath Lk Lidhiz

Outtee Lamont Adléins

Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 12 of 38

EXHIB) 7 - A
Case 2:19-cv-00458-DMC Document152_ Filed 06/09/25 Page 13 of 38

ROB BONTA State of California
Attorney General , DEPARTMENT OF JUSTICE

600 WEST BROADWAY, SUITE 1800
SAN DIEGO, CA 92101

P.O. BOX 85266

SAN DIEGO, CA 92186-5266

Public: (619) 738-9000
Telephone: (619) 321-5774
Facsimile: (619) 645-2581
E-Mail: Sarah.Singer@doj.ca.gov

May 1, 2023

DuPree Lamont Adkins

California Health Care Facility - Stockton
P.O. Box 213040

Stockton, CA 95213

Re: Dupree Adkins (K50645) v. Kernan, et al.
U.S.D.C., Eastern District of California, Case No. 2:19-cv-00458-DAD-DMC
Fifth Amended Complaint & Pending Discovery

Dear Mr. Adkins:

I will be working with Supervising Deputy Attorney General Lyndsay Crenshaw on this
matter. I attempted to schedule a call with you the week of April 24, 2023, but May 3, 2023 was
the first available date through scheduling. It is my understanding from your correspondence
and prior discussion with Ms. Crenshaw that you are agreeable to a further discovery extension
on the pending discovery listed below with a current due date of May 1, 2023:

Interrogatories (set two) to Defendant Arnold;

Interrogatories (set two) to Defendant Neuschmid;

Interrogatories (set two) to Defendant Dernoncourt;

Request for Production of Documents (set two) to Defendants Kernan, McComas,

Sherman, Neuschmid;

e Request for Production of Documents (set two) to Defendant Dernoncourt;

e Request for Production of Documents (set three) to Defendants Kernan, Sherman,
Dernoncourt; and

e Request for Production of Documents (set four) to Defendant Sherman.

Last week I filed a Statement of Non-Opposition to your Motion for Leave to File an
Amended Complaint substituting the name of M. Fregoso for M. Doe. I also filed a motion to
temporarily stay discovery, and vacate the current discovery and scheduling order dates, untilthe
case is at issue. The Court has granted your motion to file the Fifth Amended Complaint, but has
yet to rule on my motion requesting a temporary stay. I requested a temporary stay of pending
discovery, and to vacate the current dates because it will take at least thirty days to file a
response to the Fifth Amended Complaint, which is May 29, 2023, and currently discovery is set
to cut-off June 19, 2023. .
Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 14 of 38

May 1, 2023
Page 2

When we speak this week, we can discuss a new discovery due date. For now, I have
served objections only to the pending discovery, since we have yet to agree on a new deadline.
However, I do intend to provide substantive responses by a new mutually agreed to deadline.
Should the Court rule on my motion for a temporary stay in the interim, I anticipate it will
inform our decision on setting a new deadline for pending discovery.

1 look forward to speaking with you.
Sincerely,

SARAH E. SINGER
Deputy Attorney General

For ROBBONTA
Attorney General

SES:SES

$A2022301558
83934544 docx
ROB BONTA State of California

Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 15 of 38

Attorney General DEPARTMENT OF JUSTICE

600 WEST BROADWAY, SUITE 1800
SAN DIEGO, CA 92101

P.O. BOX 85266

SAN DIEGO, CA 92186-5266

Public: (619) 738-9000
Telephone: (619) 321-5774
Facsimile: (619) 645-2581

E-Mail: Sarah.Singer@doj.ca.gov

May 12, 2023

DuPree Lamont Adkins

California Health Care Facility - Stockton
P.O. Box 213040

Stockton, CA 95213

Re: Dupree Adkins (K50645) v. Kernan, et al. .
U.S.D.C., Eastern District of California, Case No. 2:19-cv-00458-DAD-DMC
Confirmed Discovery Extension

Dear Mr. Adkins:

Thank you for taking my call on May 3, 2023. This will confirm that you have granted
Defendants an extension to May 29, 2023, to respond to the below discovery requests:

Interrogatories (set two) to Defendant Arnold;

Interrogatories (set two) to Defendant Neuschmid;

Interrogatories (set two) to Defendant Dernoncourt;

Request for Production of Documents (set two) to Defendants Kernan, McComas,

Sherman, Neuschmid; .

e Request for Production of Documents (set two) to Defendant Dernoncourt;

¢ Request for Production of Documents (set three) to Defendants Kernan, Sherman,
Dernoncourt; and

e Request for Production of Documents (set four) to Defendant Sherman.

The above responses, were previously due on May 1, 2023, Thank you for your courtesy.

Sincerely,

SARAH E. SINGER
Deputy Attorney General

For ROBBONTA
Attorney General

SES:SES
ROB BONTA State of California

Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 16 of 38

Attorney General DEPARTMENT OF JUSTICE

600 WEST BROADWAY, SUITE 1800
SAN DIEGO, CA 92101

P.O. BOX 85266

SAN DIEGO, CA 92186-5266

Public: (619) 738-9000
Telephone: (619) 321-5774
Facsimile: (619) 645-2581
E-Mail: Sarah.Singer@doj.ca.gov

June 14, 2023

DuPree Lamont Adkins

California Health Care Facility - Stockton
P.O. Box 213040

Stockton, CA 95213

Re: Dupree Adkins (K50645) v. Kernan, et al.
United States District Court, Case No. 2:19-cv-00458-DAD-DMC (E.D. Cal.)

Dear Mr. Adkins:

Thank you for taking my call on June 7, 2023. As we discussed, the Court granted my
motion to stay discovery and vacate the current Discovery and Scheduling Order dates until the
case is at issue. You may have already received the Court’s Order, but I have attached a courtesy
copy for your reference. See ECF No. 87.

Because discovery is temporarily stayed, I will not be moving forward with your
deposition on June 16, 2023, but I will reschedule it once the stay is lifted and the Court issues a
new Discovery and Scheduling Order.

Additionally, due to the temporary discovery stay, as set forth in my motion, Defendants’
pending discovery responses currently due on June 19, 2023, will now be due within twenty one
days of the Court’s order lifting the stay. The pending discovery includes Defendants’ responses
to:

Interrogatories (set two) to Defendant Arnold;
Interrogatories (set two) to Defendant Neuschmid;
Interrogatories (set two) to Defendant Dernoncourt;
Request for Production of Documents (set two) to Defendants Kernan, McComas,
Sherman, Neuschmid;
e Request for Production of Documents (set two) to Defendant Dernoncourt;
.¢ Request for Production of Documents (set three) to Defendants Kernan, Sherman,
Dernoncourt; and
e Request for Production of Documents (set four) to Defendant Sherman.
Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 17 of 38

June 14, 2023
Page 2

Should you have any questions or concerns about the above, please do not hesitate to
contact me.

Sincerely,

ehh Aig

SARAH E. SINGER
Deputy Attorney General

For ROB BONTA
Attorney General

SES:SES

SA2022301558
84004498 .docx
Case 2:19-cv-00458-DMC Document152_ Filed 06/09/25 Page 18 of 38

EXHIBIT — 6
1a} rt Stote Prison
6 Fee ET a cccsn 152 Filed 06/09/25 Page 19 of 38
210; GEX% 3636
Susanville | CA %Gla7

IN THE UNITES) STATES OSTRICT Court

FOR THE EASTERN DisTRicr AF CALICO RNIA

SACRAMENTO DIVISION

DuPree La mont Adkins, . “NO. d! [9 cy 0458-DMC-£
Platt CF, DECLARATION
Vi |sudges HON fennis M COTA

DEBORAH BLACKWELL eta, [tial Date ‘None

bef tlasts, dation Etled May 46, 200

I. LT mote this declaration based! an My persone! ko-
awed qe,

LQ ze called for Oral argument Or to testify Tag

Qnod will Compontent ly tesileu,

3 . the redacted lod. have. pra diced wate fal Lacks

that there (was no “ewglayec at Tec with-the tye
Doctor | Pay ehalag ist Or Seri Ve0Dekr

UY. 40 good Batch helret LT wet and Capfer with

de Len Slacks Counsel anal agreed 40 (ute { ple ol f-

SCovery extensions that iA responcked i by
(9 Len. a Caunse! DAS Ms Singer QBN May [ads

a 3°, Gnd “Wulle 14, A083.

5. Its 9 “undisguted Mater? gi Fact that nane

the. Lag: 4 Sip ort deolendoan. Cc Qin thot OE Shermas)

Was present at xc.

(, he. logs plaice OreSherman bestimony thet Séri-
Vener error led to the clinician CoWments.

ay Oasert State Prisan
Pree, Sree R aaa tHCS SIMGHAI52 Filed 06/09/25 Page 20 of 38

a

Sean HIS! CA 1G/27

TF. Dwr (0g discovery Of OR, Sherman [nvarragate-

ry responses, Or Sherman declared She click not.

make, the Clinician Comments, She oloe's nose reca//

meeting Piaintifte and She ole C lated the clinielan

Com ments Were tha, product Of Schivengt error.

rn the defendants answer +o fLlaintitt FAC

they answered Or, Sherman Was LEE Gort at tcc
and endorsed the clintan Commands,

8, EYHEIT-C =z Se /atsan Log frase 12 Lin wlayas

Otte, nding ree with the ob. title of Car, COZ,

Aw, C/o , Cfo, COW, CPT, CAPT, COI, Coot, Cayot

and AW. EXHIBIT-D- has 2a Zeoc emolavoes watth

Psy cholagist Or Scrivener L/+/2, if VANE! T= EF

and Edo pod. hae @ tec employes £2 fy C~

haloaist Cr Seri veer gnck neither dogs EXHIBIE 6

ar_fh

9. Tne logs are a mater/’al Fact of a prima,

“acie eloiv of actionable parm +hat the, “Ae Lox

ficlaict Was aware that plat pti ee Was in fmenert

danger which they to nareot And continue to rely

VU
AD ten tional “olow Cul fake, clinician Comments

On days 02. Sherman oid nok atend, roc, by

radcting the, Name and date of =CG membets.

1 Or Materjal. witness 1. Garcia title COT

gave material information under penalty of

pert uty the" clinician Comment's” were Lowtolerto

{
Lan auag pré 00 pulatecl into the £ielol. har

od

High Set rook, Prison
Oates Leth fa Asal ISTASOGKTS2 | Filed 06/09/25 Page 21 of 38

Sikonvtle: CH PGl27Z

as the first instance ef Cortroboration of my

+woe Conlidentral witnesses wha oraly Satol 2l0-

ud to Plototiet br. Sherman told them —coc Was

Using template “Longs ae of CUinicta.pn Comments

() ‘hays She was not at Werk and she wes

Contemplating filing a Complant agai ast thes

1
Material Witness wn McComas the Com Gaile. Mat-

eeial information he did not kraw aaishirg ako

Qa Scrivener, Garcia, and Melales Were ree (ne. ta

bers,

EE declare Under Penalty of Pehiiry, the (aws of

the United States and the State OL Califorinky

ihe fore.qoitig is tse and Correct

Execipted at Susanville Cal Lfornia)

On May LG, 2025

Dulee La riontAdee

Case 2:19-cv-00458-DMC Document152_ Filed 06/09/25 Page 22 of 38

EXHIB T=
Case _ 2:19-cv-00458-DMC Document 152

12:01 a.m. To 12:00

Filed 06/09/25
ISOLATION LOG

Page 23 of 38

p.m.

OFFICIAL VISITATION

S

TITLE OUT REASONS FOR YOUR VISIT AND ‘COMMENT
Vv (eo Pf. we 1590
LVN Mev pass / pu avez
<a 0256 | 2a escort
Yo O70 | Zab escort
tk 02 | bob Draws
Co JED 0895-7 PPP Trerarasg
bY] Lis Tiht4en!
ce7 tl hyo» Ty
Corr Idee VEC
~~ (0S 0 (Cc
Cy Wye oc
& we Zo
SO 2/0 E Scortp hall Phrotag
CS ix? rec.
Cp 797) {co
CG aayot [n> 0 (C*°
COLE p59 1c’
2 OFS0-| PH Bila Surveillance
FLEL fors | Obwven /s.A
| pf ng [ree ,
tpdT WIS (pee
Lae yess | HAS | Fee.
ee Clo Le Zo (2-38 ge. .
DOCTOR'S. CALLS OFFICERS’ ROSTER
IN, QUT NAME IN QUT
Se | 2200 | 6603
GIS. | 16:55 poe’ | chen
a OST
Ho | zo osss”
und | 1,30 2600.| /¥20
DOCTOR'S COMMENT & SUGGESTIONS ; OUED., :
pzicd ——\utu? oye | [Gco
(hoo | 2oan
[veo -
On MH eH thee dn (ecu | 2hco
14O@
ee 12S
|

REPORT OF ANY UNUSUAL INCIDENTS

AG0001

Case ae OY PO 152 ~=Filed 06/09/25 Page 24 of 38
Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 25 of 38

ISOLATION LOG
12:01am. To 12:00 p.m.

OFFICIAL VISITATIONS |
TITLE IN OUT REASONS FOR YOUR VISIT AND.GOMMENT :
sq7 Biya. | 1245 Prppeok et Aare
PL Iso | Had er foam 2(V) Ply xed
Ye 1428 | we | eB? Repper
Qe iS 25 [Se BISPe.
Co ASb- sBo | Are ge Zim
Yet Lis ligre | Sa
Cfo |ietoe| [ro | FAA.
Clo Leds 12S0 Te.
Sle 4e4¢ | rok Le
|
i
DOCTOR'S CALLS OFFICERS ROSTER ~ 4
NAME IN OUT NAME IN OUT
_ a
a
DOCTOR'S COMMENT & SUGGESTIONS on
“
REPORT OF ANY UNUSUAL INCIDENTS

AGO0002
Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 26 of 38

EXHIBIT 6
Case 2:19-cv-00458-DMC —_ Document 152 _ Filed 06/09/25 Page 27

= ee

12:01am. To 12:00 p.m.
OFFICIAL VISITATIONS
TITLE iN OUT | REASONS FOR YOUR VISHT axa
A me lysvp | Pie eevee
‘evr cov BY? MEP PASS PLE |
Sha ofA Seer et Pat ei
C £2 QI 5 Set Pb $ pz

Sint OWO Cha _ (Zou, AS

Cugt S80 lisys llup 7.

tho San [eve | VD

Ll /6 Ss ((o4 D>

of x) ane | Gre Pre —

a
—
at.
DOCTOR'S CALLS OFFICERS’ ROSTER
NAN iN OUT __ NAME IN

a° i ae .
_te lb (OSs

DOCTOR'S COMMENT & SUGGESTIONS
Ofep jw[ohhe we ss

—

tl.
REPORT OF ANY UNUSUAL INCIDENTS

awe

we

a
a

AG0003

CDC 114.(Rev, 03/03)
Case EVP 152 ~Filed 06/09/25 Page 28 of 38
Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 29 of 38

IDULAIIUN LOG
12:01am. To  12:00p.m.

OFFICIAL VISITATIONS
TITLE IN OUT REASONS FOR YOUR VISIT AND COMMENT
rept lowes YO? | or feo
eVN_| [4tW Ni pus _ FBG z_ tf
a
2
7 Lo
7
LO
7
LZ
Lf.
L.
ZL.
DOCTOR’S CALLS OFFICERS’ ROSTER
NAME. IN OUT NAME IN
mune 72
v , {FO
DOCTOR'S COMMENT & SUGGESTIONS a q
a“ L— 4
= = 1
LO a q
LZ Za
LO ZO
ZO
REPORT OF ANY UNUSUAL INCIDENTS
SY
LZ
LZ.
ZL.
LZ.
<

— <a ee = 000d
Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 30 of 38

EXAMI T -G
Case 2:19-cv-00458-DMC Document152 Filed 06/09/25 Page 31 of 38
12:01 a.m. To 12:00 p.m.

OFFICIAL VISITATIONS.

TITLE IN OUT REASONS FOR YOUR VISIT ANO CO
CLO (2038 | 0643 | ot redo d TD FEL
eves OSS2 | Le MED pass {7962 P/e?

Lod 0602 | Ao [ot /
LAG Toefl | e7te Oty blasd

Cfo ons AS EB cayt

Cha otis OStr Leu,

‘

Chins Cf odin | Are | se
UF 0 Go &)
\

iii ON, PSE | 0740 | fur Accos
| ot, Fe | a4 A ppea\s
“as Py Ln Cape  [fo2y | Is | yee
Nav WN) Cette | jor | Wis [vec
ae OOVHS

a, :

fo SO |/00 Kv *
1059 | lo LT. Lee /srerecist”
Hoe | WD 17 ces

DOCTOR'S CALLS OFFICERS’ ROSTER

NAME IN

NAME

DOCTOR'S COMMENT & SUGGESTIONS

MH MEET Lug 0900

é
REPORT OF ANY UNUSUAL INCIDENTS

iC 114 (Rev. 03/03)

AGO0005
Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 32 of 38

EMHNIT-H
Case 2:19-cv-00458-DMC Document 152
SOLATION LOG

Filed 06/0

9/25 Page 33 of 38

2:01am. To 12:00 p.m.
OFFICIAL VISITATIONS q
NAME. TITLE IN OUT REASONS FOR YOUR VISIT AND COASd a
> 2 4¢ Lt(23#) Cleavtunc |
cf VA. YAO Ie, / 4
OT: Woo 1A OD Dt Sone 26
a
|
a
“|
x
a
LZ
Lo
Lo
/
DOCTOR’S CALLS OFFICERS’ ROSTER a
NAME IN OUT NAME IN OUT 3
Hen [cas o>
ee
7
DOCTOR'S COMMENT & SUSGESTIONS
ZL
ZZ
/ REPORT OF-ANY UNUSUAL INCIDENTS
XL Lo
Lo
ZL
LZ.
LZ
L - a

AG0006
Case 2:19-cv-00458-DMC Document152_ Filed 06/09/25 Page 34 of 38

EYHIOIT- =o
Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 35 of 38

RESPONSE TO INTERROGATORY NO. 2:

Objection. Compound. It is vague, ambiguous, and overbroad as to time and subject
matter. It calls for speculation. It lacks foundation and assumes facts.
Subject to and without waiving the objections, Defendant responds as follows:

I do not have an independent recollection of this event since more than seven years have

elapsed. The ICC Chrono shows that other officers were on the committee, so they may have

knowledge regarding Dr. Sherman’s comments.

INTERROGATORY NO. 3:

Please state all facts that relate to the ministerial Act's you performed on 10/18/2017 at
Institution Classification Committee to insure psychologist sherman "clinician comments" were
recorded in accordance with Institution Classification Committee procedures.

RESPONSE TO INTERROGATORY NO. 3:

Compound. This request is vague and ambiguous regarding “ministerial Act’s,” and
subject matter. It lacks foundation and assumes facts. It calls for speculation, as Defendant
Neuschmid did not participate in the October 18, 2017, ICC meeting. Subject to and without
waiving the objections, Defendant responds as follows:

I was not involved in the October 18, 2017, ICC meeting.

INTERROGATORY NO. 4:

Please identify each and every person whom you are aware may have knowledge about
psycholo- Sherman "clinician Comments" at Institution Classification Committee on 10/18/2017
RESPONSE TO INTERROGATORY NO. 4:

Compound. This request is vague and ambiguous regarding “ministerial Act’s,” and
subject matter. It lacks foundation and assumes facts. It calls for speculation, as Defendant
Neuschmid did not participate in the October 18, 2017, ICC meeting. Subject to and without
waiving the objections, Defendant responds as follows:

I was not involved in the October 18, 2017, ICC meeting.

//1
//1

3

Def. Neuschmid's Responses to Pl.'s Second Set of Interrogatories (2:19-cv-00458-DAD-DMC)

Case 2:19-cv-00458-DMC Document152 _ Filed 06/09/25 Page 36 of 38

VERIFICATION OF ROBERT NEUSCHMDD
TO PLAINTIFF'S INTERROGATORIES (SET2)

Dupree Adkins (K50645) v. Kernan, et al.
USDC, EASTERN Distr

I, Robert Neuschmid, declare under penalty of perjury that I have read Defendant Robert
Neuschmid’s Responses to Plaintiff’s Second Set of Interrogatories and that the responses are true
and correct of my own knowledge, or on the basis of information available to me, and I believe
all responses based on such information to be true.

Executed this 23 day of Apri/ 20025

e/KEL )

Robert Neuschmid

Hish Desert State Piso

DutkeedaMenatdblis * keaGg¢snt 152 Filed 06/09/25 Page 37 of 38
g 10, BOX 3030 .

USANV) 112) CA 96127

UNi TE) STATES DISTRICT COURT

EASTERN OISTRICT OL CALLEORMA

Dubee Lowmart Adikias, NO. 26 19- CV- 0453 -DMC-f

Plant ite | Pract of Sery/og

V. Tudge s HON. Dennis MM. COTY
DEBORAH BLACKWELL otal, lTe/AL DATE ONE

Defendants. wlAction Etleds May 26, 20257

Thereby cortify thet an tay 2b, 20aS~, TT Sery2of

A copy of the, attached Motion Ta Compe/

by placing M COpy inc, pastage pala envelope

addressed. £0 the. persons bere inatler Listed, by alopo-

siting Said ene elope, in the United States Wai! ot

susanl le California.’ ‘ colfern/a, bepartment

United States Oistri ot Court | Of Dustice +} aye Zhou
Ecuseer bistes ot Of Ca: (ivornia. Deouty Attorney General

Cf¢iCe OF The Clerk [L200 we Mast broadiuay Suite

Sor Z Street, Suita 42200 1200 San Ofeao, cA

Sacramento, CLA GSEYE~23R2 loaves

Le declare. Uneler gobal Ly OF beth thot thd Lore-

Haig fs true and CO eects A

(Lhe Gls

Lul24, Lato’ Jdéins

Case 2:19-cv-00458-DMC Document152_ Filed 06/09/25 Page 38 of 38
al 1
Peace And Blessincs !

= odo Merhave Access +3 the Stag
_ er
Or TWo Hole Punch The prison aetie lols

are only offering Pink papek Lor Capies at
ths tite. J pape P

}

dup <idfato
Dupree Lamon. Adéins

pete y, Submitted,
